Case 2:04-cr-20433-.]DB Document 26 Filed 04/25/05 Page 1 of 2 Page|D 30

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IN THE UNITED STATES DISTRICT COURT
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Plaintiff,
vs. Case No. 2:04cr20433-B

Orlander Taylor

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registly in the sum of $500.00,
payable to Daniel Taylor at 1543 Elkwood, Memphis, TN 38111 in full refund of the cash appearance

bond posted herein.

 

n ted States District Judge\
lj/JH)Z 6 f J. anielBreen
Date: ` ' =Y/

Approved.
Robert R. Di Trolio, Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CR-20433 Was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

